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                              United States District Court
                               Western District of Texas
                                    Austin Division

Fund Texas Choice, et al.,                      §
                                                §
      Plaintiffs,                               §
                                                §
v.                                              §
                                                                              No. 1-22-CV-859-RP
                                                §
Ken Paxton, in his official capacity            §
as Attorney General, et al.                     §
                                                §
     Defendants.                                §


              DEFENDANT PAXTON’S EMERGENCY MOTION TO SEAL


       Plaintiffs’ actions have caused a serious security risk for the Attorney General. Without

first advising the Attorney General’s Office, Plaintiffs’ counsel sent an unidentified process server

to Attorney General Paxton’s personal residence. The process server loitered at the Attorney

General’s home for over an hour, repeatedly shouted at him, and accosted both the Attorney

General and his wife, a Senator in the Texas Legislature. Because the Attorney General did not

know the process server—again, because Plaintiffs’ counsel failed to identify him or warn the

Attorney General’s Office in advance—the Attorney General justifiably feared for his personal

safety and refused to engage with the strange man who was lurking outside of his home and

repeatedly shouting at him.

       To make matters worse, Plaintiffs have recklessly and dangerously filed returns of service

containing Attorney General Paxton’s home address, presenting a serious security risk to the

Attorney General and his family. See ECF Nos. 59, 60. Violent criminals could now find him with



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ease, a risk that is tragically all too real. See, e.g., Mark Sherman et al., “Armed man arrested for

threat    to   kill   Justice   Kavanaugh,”     AP    News     (June    8,   2022),    available   at

https://apnews.com/article/us-supreme-court-brett-kavanaugh-district-of-columbia-maryland-

government-and-politics-179d18e7f933b3decbaddb542ceb0b29 (last visited Sept. 27, 2022).

Accordingly, this information must be concealed from the public record immediately.

                                           BACKGROUND

         Plaintiffs have sued the Attorney General in his official capacity—in other words, they have

attempted to state a claim against the State of Texas under the legal fiction of Ex Parte Young—but

have not made any case that the Attorney General’s personal participation in this lawsuit is

necessary. See, e.g., Defendant’s Motion to Quash, ECF No. 44. Nonetheless, in a misguided

attempt to obtain his testimony, Plaintiffs attempted service on the Attorney General in his

personal capacity on Friday, September 23, 2022, only two business days before the preliminary

injunction hearing in this matter.

         On Sunday, September 25, 2022, counsel for Defendant advised Plaintiffs’ counsel that

their attempted service on Ken Paxton was ineffective for the purpose of obtaining his personal

testimony at the hearing. Although Plaintiffs’ counsel stated that they would attempt service on

the Attorney General in his official capacity again on Monday, counsel did not advise the Attorney

General’s Office that they intended to attempt personal service on Ken Paxton at his private

residence.

         On the morning of Monday, September 26, 2022, at 9:13 AM, counsel for Plaintiffs advised

undersigned counsel for the first time that a process server was at the Attorney General’s personal

residence. Counsel for Plaintiffs never provided the name of the process server or any other

identifying information, even though he had already been lurking outside of the Attorney General’s
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house for 45 minutes. The process server spoke to Mrs. Paxton—a Senator in the Texas

Legislature—explaining only that he was “trying to deliver important legal documents.” ECF No.

59 at 7. The stranger then proceeded to loiter outside of the home for an hour before approaching

the Attorney General and shouting at him when he tried to leave, causing the Attorney General to

return inside. When the Attorney General again tried to leave, the stranger continued shouting at

him, approached his vehicle, and left documents on the ground outside the Attorney General’s

home as he drove away.

       Plaintiffs did not provide undersigned counsel with any of the details of this purported

service until they publicly filed the Attorney General’s home address on the eve of the preliminary

injunction hearing in this matter.

                                     ARGUMENT & AUTHORITIES

       Publicly releasing the home address of the sitting Attorney General of Texas is, at best,

reckless and irresponsible. By releasing this information, Plaintiffs have placed the personal safety

of the Attorney General and his family at risk. The privacy and security interests favoring

nondisclosure clearly heavily outweigh the public’s interest in the disclosure of the Attorney

General’s home address, and the documents containing that information should be immediately

stricken from the record or sealed.

       While “[c]ourts have recognized that the public has a common law right to inspect and

copy judicial records,” “the public’s common law right is not absolute.” SEC v. Van Wayenberghe,

990 F.2d 845, 848 (5th Cir. 1993). “Every court has supervisory power over its own records and

files, and access has been denied where court files might have become a vehicle for improper

purposes.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978). “In exercising its discretion

to seal judicial records, the court must balance the public’s common law right of access against the
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interests favoring nondisclosure.” Bradley ex rel. AJW v. Ackal, 954 F.3d 216, 225 (5th Cir. 2020)

(quoting Van Wayenberghe, 990 F.2d at 848)).

        While federal law governs, federal courts “consider state policies supporting a privilege in

weighing the government’s interest in confidentiality.” Walter v. Breaux, 946 F.2d 1152, 1159 (5th

Cir. 1991). The home address of elected public officers is made confidential under state law. See,

e.g., Tex. Gov’t Code 552.1175(a)(17). “It should surprise nobody that district courts across the

nation routinely permit the sealing of personal identifying information, such as home addresses.”

Martinez v. Tex. Dep’t of Crim. Just., No. 3:21-CV-00258, 2022 WL 2834294, at *1 (S.D. Tex. July

20, 2022). “There is rarely a compelling justification for requiring the disclosure of home

addresses, especially in a case like this where . . . home addresses have nothing to do with the

ultimate issues.” Id. Accordingly, “the interest in protecting the private information of []

individuals . . . far outweighs the public’s interest in in their home addresses” and good cause exists

to grant a motion to seal. Id.

        “Online harassment and the weaponization of social media have been on the rise in recent

years.” Friends of Animals v. Bernhardt, 15 F.4th 1254, 1277 (10th Cir. 2021). “Doxxing, or the ‘use

of the internet to search for and publish identifying information about a particular individual,

typically with malicious intent,’ is no exception.” Id.; see also Guffey v. Mauskopf, 45 F.4th 442, 457

(D.C. Cir. 2022) (noting the increased use of doxxing to publicly identify and publish private

information about individuals as a form of punishment or revenge). Plaintiffs’ filings containing

General Paxton’s home address is no different. Publishing that information served no legitimate

litigation purpose, and it is wholly irrelevant to the substantive issues before the Court.




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       Plaintiffs well know the history of violence in this country surrounding the abortion debate.

See United States v. Dillard, 795 F.3d 1191, 1201 (10th Cir. 2015) (discussing an incident of abortion

violence); United States v. Pendergraft, 297 F.3d 1198, 1201 (11th Cir. 2002) (same); United States

v. Hart, 212 F.3d 1067 (8th Cir. 2000) (same); United States v. Dinwiddie, 76 F.3d 913, 925 (8th

Cir. 1996) (same). Personally identifying information is routinely protected from disclosure in

abortion cases. And Justice Kavanaugh was recently the target of a murder plot over his perceived

stance on abortion issues. See, e.g., Mark Sherman et al., “Armed man arrested for threat to kill

Justice Kavanaugh,” AP News (June 8, 2022), available at https://apnews.com/article/us-

supreme-court-brett-kavanaugh-district-of-columbia-maryland-government-and-politics-

179d18e7f933b3decbaddb542ceb0b29 (last visited Sept. 27, 2022).

       Furthermore, the Attorney General’s duties range far beyond contentious political issues

such as abortion. The Attorney General and his Assistant Attorneys General prosecute violent

crime in partnership with district attorneys all over Texas, combat human traffickers through both

criminal prosecutions and civil enforcement actions, and defend and protect the rights of Texans

in myriad other ways. In a very real sense, Plaintiffs’ unconscionable exposure of the Attorney

General’s home address has placed him and his family in harm’s way from violent criminals. There

can be no “compelling justification” for endangering an elected official in this way. Cf. Martinez,

2022 WL 2834294, at *1. The Attorney General’s home address must be immediately removed

from the public record in this case.

                                           CONCLUSION

       For the foregoing reasons, this Court should immediately strike from the record or seal

Docket Numbers 59 and 60.



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                           Respectfully submitted.

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                           KEN PAXTON

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                                CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for Defendant Paxton has conferred with counsel for Plaintiffs,

Jennifer Ecklund, and she stated that she is opposed to the relief requested in this Motion.

Although counsel for Plaintiffs have stated they will contact the clerk’s office asking that their

previous unredacted filings be withdrawn, Defendant Paxton files this motion out of an abundance

of caution.

                                             /s/ Christopher D. Hilton
                                             CHRISTOPHER D. HILTON




                                   CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2022, a true and correct copy of the foregoing

document was served via the Court’s ECF system to all counsel of record.

                                             /s/ Christopher D. Hilton
                                             CHRISTOPHER D. HILTON




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